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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


D.C. TEACHERS’ FEDERAL CREDIT
UNION,

       Plaintiff,
                                               Civil Action No. 19-cv-01126 (JEB)
v.

L.F. JENNINGS, INC., et al.,


      Defendants.



                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF
                    DEFENDANT JOHNSON DEVELOPMENT ASSOCIATES, INC.

       Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff District of Columbia Teachers’ Federal

Credit Union dismisses Defendant Johnson Development Associates, Inc. and all claims against

it without prejudice.



Date: May 8, 2019                             Respectfully submitted,

                                               ____/s/__________________________
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 78 2019, a copy of the foregoing Notice was served upon the
following counsel via the Court’s electronic filing system:

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                                    ___/s/____________________
                                    Tram T. Pham




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